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Francis C. Flaherty
Nevada Bar No. 5303

Casey C. Gillham

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Attorneys for Plaintiff

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

JENNY A. HUNT, £.k.a. JENNY A. RICCI, CIVIL ACTION NO.:

 

)
)
Plaintiff, )

) COMPLAINT
vs. )
)
WASHOE COUNTY SCHOOL DISTRICT, )
a political subdivision of the State )
of Nevada, )
)
Defendant. )
)

PLAINTIFF JENNY HUNT (hereinafter “Hunt” or “Plaintiff”), by

and through her counsel, Dyer Lawrence, LLP, and Francis C.
Flaherty, Esq., hereby files this Complaint against the Defendant
captioned above. |
STATEMENT OF THE CASE
PARTIES

1. Plaintiff is a citizen of the United States and the State
of Nevada and at all material times was employed by Defendant
Washoe County School District as a Student Support Services
Performance & Instruction Executive Director.

2. Defendant Washoe County School District (“WCSD,”

“District” or “the District”) is a political subdivision of the

 
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State of Nevada and a “person” subject to suit within the meaning
of 42 U.S.C. § 1983.

3. WCSD is an “employer” within the meaning of 42 U.S.C. §
2000e.

4. At all material times, Kristen McNeill (“McNeill”) worked
within the District, and held the title of deputy superintendent.

5. At all material times, McNeill was an agent and/or
employee of Defendant District, acting or failing to act within the
scope, course, and authority of her employment and her employer.

6. At all material times, Traci Davis (“Davis”) worked
within the District, and held the title of superintendent.

7. At all material times, Davis was an agent and/or employee
of Defendant District, acting or failing to act within the scope,
course, and authority of her employment and her employer.

8. At all material times, Paul LaMarca (“LaMarca”) worked
within the District, and held the title of Chief School Performance
Officer.

9. At all material times, LaMarca was an agent and/or
employee of Defendant District, acting or failing to act within the
scope, course, and authority of his employment and his employer.

JURISDICTION AND VENUE

10. This case arises under the Fourteenth Amendment of the
United States Constitution and 42 U.S.C. §§ 1983 and 1988, as
amended, Title VII of the Civil Rights Act of 1964, 42 U.S.C. 8
2000e, et. seq., Title IX of the Education Amendments of 1972, 20
U.S.C. §1681(a), Title II and V of the ADA, 42 U.S.C. §12133,

§12203, and Section 504 of the Rehabilitation Act, 29 U.S.C. §794a.

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11. This Court has subject matter jurisdiction in this matter
pursuant to 28 U.S.C. § 1331, which gives district courts
jurisdiction over all civil actions arising under the Constitution,
laws, and treaties of the United States.

12. This Court also has subject matter jurisdiction pursuant
to 28 U.S.C. § 1343, which gives district courts original
jurisdiction over (a) any civil action authorized by law to be
brought by any person to redress the deprivation, under color of
any state law, statute, ordinance, regulation, custom or usage, of
any right, privilege or immunity secured by the Constitution of the
United States or by any Act of Congress providing for equal rights
of citizens or of all persons within the jurisdiction of the United
‘States; and (b) any civil action to recover damages or to secure
equitable relief under any Act of Congress providing for the
protection of civil rights.

13. The declaratory and injunctive relief sought is
authorized by 28 U.S.C. §§ 2201 and 2202, 42 U.S.C. § 1983, and
Rule 57 of the Federal Rules of Civil Procedure.

14. This Court may exercise supplemental jurisdiction over
Plaintiff's state law claims arising under the common law, statutes
and regulations of the State of Nevada, and which arise from a
common nucleus of operative fact pursuant to 28 U.S.C. §1367.

15. This judicial district’s unofficial northern division is
the appropriate venue for this cause of action pursuant te 28
U.S.C. §1391(b) (1) and (b) (2). The actions complained of took
place in this judicial district; employment records and other

evidence relevant to the allegations are maintained in this

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judicial district; and Defendant regularly conducts its affairs in
this judicial district.
ADMINISTRATIVE PREREQUISITES
16. Plaintiff has complied with any and all administrative

prerequisites for filing a civil action under Section 706 of Title
VII of the Civil Rights of 1964, as amended, 42 U.S.C. §2000e-5 as
follows:

A. On November 20, 2017 Plaintiff timely filed a formal

charge of sex discrimination and retaliation with the

Nevada Equal Rights Commission (“NERC”), and with the

Equal Employment Opportunity Commission (“EEOC”) ;

B. Plaintiff and her counsel promptly and diligently

accommodated all NERC and EEOC requests for information

and fully cooperated in the agencies’ investigations of

this matter;

Cc. Plaintiff exhausted all available administrative

remedies in accord with the aforementioned statutes prior

to instituting this civil action, and Plaintiff and her

counsel received a Right-to-Sue letter from the Los

Angeles District Office of the EEOC on August 13, 2018.

17. Plaintiff has complied with any and all administrative

prerequisites for filing a civil action under Title IX of the
Education Amendments Act of 1972, Section 504 of the Rehabilitation
Act of 1973 and Title II and Title V of the ADA.

A. On August 2, 2017 Plaintiff timely filed a charge of

discrimination and retaliation with the Office for Civil

Rights of the United States Department of Education

( NOCR” ) .

 
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B. Plaintiff and her counsel promptly and diligently
accommodated all OCR requests for information and fully
cooperated in the agency’s investigation of this matter;
Cc. Plaintiff exhausted all available administrative
remedies in accord with the aforementioned statutes prior
to instituting this civil action, and Plaintiff and her
counsel received a Right-to-Sue letter from Region X of
OCR on or about November 8, 2017.

FACTUAL ALLEGATIONS

18. The District implemented and executed policies and
customs in regard to the events that resulted in deprivation of
Plaintiff's constitutional, statutory and common law rights.

19. The District is responsible for ensuring that all its
employees are properly trained and supervised to perform their
jobs.

20. The District is responsible for the acts and omissions of
its employees.

21. Defendant, in contravention of sound and proper public
policy, terminated Plaintiff. The effect of terminating Plaintiff
was to effectuate a discriminatory purpose toward Plaintiff by
Defendant.

22. In 2015 the State of Nevada Department of Education
(“NDE”) issued directives to the District regarding Special
Education and expressed concerns with the services the District
provided for students with disabilities and compliance with the
Individuals with Disabilities Education Act (“IDEA”); specifically,

that the District’s “recurrent violations” might “be indicative of

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a fundamental systematic noncompliance with the IDEA and Nevada
law.”

23. The District spent $90,000 to retain an educational
consulting firm, WestEd, to conduct an investigation regarding
areas in need of improvement. In the wake of the WestEd
investigation and report, Davis: declared that reforming the
District’s Special Education practices and processes would be a
priority in the District; re-allocated resources and made
leadership changes, to include naming Dr. Byron Green as the Chief
of the Office of Student Services (“OSS”); and, began to implement
reform in accordance with NDE’s mandates and the results of the
WestEd investigation.

24. Throughout the 2015-2016 school year, under the
supervision and direction of Dr. Green, Plaintiff and her male
colleague, David Frydman, worked with area superintendents, school
principals, McNeill and Davis to implement changes and systems to
ensure compliance with the IDEA. During the year, OSS met with
resistance and push-back from schools and school administrators in
response to the guidance provided by Plaintiff to make the District
IDEA compliant. At that time, LaMarca was the District's Chief
School Performance Officer and was responsible for supervision of
area superintendents and daily operations in all District schools,
but he was also actively soliciting complaints against OSS and
Plaintiff from District principals.

25. The resistance and push-back referenced above were
manifested in the complaints brought forward by LaMarca that were
filed against Plaintiff by individuals and the Washoe School

Principals Association (“WSPA”) specific to the guidance Plaintiff

 
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provided to schools to comply with the IDEA and District
guidelines.

26. Upon receipt of each complaint, Plaintiff requested
feedback from Dr. Green, and she also requested his review of her
ongoing emails to principals in an effort to prevent or mitigate
future complaints. Dr. Green’s feedback to Plaintiff was that her
behavior was professional, that her decisions were supported by the
data and that a change was not needed.

27. Dr. Green worked with McNeill and Davis to address the
complaints, while also refining communication plans = and
roles/responsibilities to ensure compliance with IDEA.
Subsequently, those refined roles and responsibilities were
documented and confirmed in an August 4, 2016 memorandum to all
District staff from McNeill and Dr. Green. LaMarca was also listed
as an author of that memorandum. At no point in the wake of these
complaints or the August 4th memorandum was Plaintiff ever directed
by Dr. Green, McNeill or Davis to alter her approach or the
guidance she was providing, as directed by the Davis and Dr. Green.

28. In the spring of 2016, WSPA submitted a latter to Davis
in response to a series of articles published in the Reno Gazette
Journal (“RGJ”) about special education in the District. Those
articles were the culmination of a two-year investigation by the
RGJ, which revealed that despite the direction from NDE in 2015:

- The District graduation rate for special education

students was far below the national SEIS .
7 The District's institutional mentality for special

education students was one of “low expectations.”

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- The District was inappropriately segregating special
education students from their regular education peers.
= Special education students have been abused at the
District.
The WSPA letter was an exercise in evasion of responsibility anda
“run for cover” in which the WSPA lashed out at OSS and claimed
that OSS, as opposed to the RGJ expose, was causing low morale in
the District.

29. In the spring of 2016, Plaintiff began sharing with Dr.
Green her concerns regarding: untruthful allegations leveled
against OSS by principals, WSPA and LaMarca; disregard of the
communications and guidance provided to school sites; and, the
bullying ‘pebeetor exhibited by LaMarca. Of great concern to
Plaintiff was the fact that LaMarca did not treat her male peer,
David Frydman, the same way he treated her. By way of example, in
addition to Mr. Frydman not being the target of a series of
solicited, spurious complaints, LaMarca refused to work directly
with Plaintiff on cases and issues arising at the school level,
whereas he worked directly with Mr. Frydman in such situations.
Additional examples of unequal treatment were provided by Plaintiff
in a formal complaint she filed with the District regarding
LaMarca’s behavior on May 19, 2017.

30. At the start of the 2016-17 school year, principals, area
superintendents and LaMarca continued to resist when given guidance
and direction from OSS. Davis and McNeill convened a Leadership
Team meeting in September of 2016 at which they reaffirmed their
previously announced expectations for special education to include

“holding staff accountable,” ensuring IDEA compliance, and

 
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professional communication and behavior with colleagues. The guest
speaker at the meeting was District Deputy Chief General Counsel
Chris Reich, who reviewed disciplinary and documentation procedures
and due process rights for staff.

31. Based on the direction reiterated from McNeill and Davis,
Dr. Green and his staff, including Plaintiff, continued to follow
through on providing guidance for special education reform.
Principals, area superintendents, and LaMarca repeatedly resisted,
made dishonest allegations, and disregarded the systems put in
place by OSS, systems intended to support and drive reform and IDEA
compliance. Despite the direction provided in the August 4, 2016
mene-rancum, school principals continued to make decisions that were
against the law and ignored OSS guidance. The principals were
encouraged in this regard by LaMarca, who continued to advocate
that principals should use their “professional judgment” for
decision making with IEP teams, rather than complying with the IDEA
and rooting decision-making in data. For example, special
education students were moved to more restrictive classroom
environments without sufficient data to support and justify the
change in their educational placement, and schools continued to
fail to implement Individual Education Plans (“IEPs”) for special
education students.

32. By way of collaboration and communication, Plaintiff
provided direct guidance for schools specific to IEP compliance and
recommended changes, but the schools failed to follow the guidance
or undertake recommended changes. Plaintiff copied District
leadership in those communications, including but not limited to

Sara Almo, District Associate General Counsel, who advises the

 
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District regarding special education matters, District Compliance
Administrator Jessica Medulla, LaMarca, Dr. Green, McNeill and area
superintendents.

33. In an effort to prevent and mitigate future complaints,
Plaintiff and Dr. Green requested meetings to collaborate and
mediate with principals, but neither the area superintendents,
LaMarca nor McNeill ever responded to the requests, and the
meetings did not happen.

34. Plaintiff again communicated her concerns to Dr. Green,
which included concerns of bullying and harassment by LaMarca and
school principals, who continued to target Plaintiff by way of
bogus complaints and untruthful allegations. Dr. Green indicated
that he provided this information to his supervisor in a meeting
and in an email and concurred with Plaintiff that he believed the
behavior from LaMarca and the WSPA president, Alison Kendrick, was
bullying and harassment.

35. In the fall of 2016, the principal at Virginia Palmer ES
and LaMarca made false allegations that Palmer ES was not provided
support by OSS and that Plaintiff was unprofessional. The District
initiated an internal investigation conducted by Walt Lyman.
Plaintiff shared her concerns of being bullied and harassed by
LaMarca with Mr. Lyman, but no action was taken.

36. On March 30, 2017, Plaintiff was placed on administrative
leave pending investigation of allegations that she had engaged in
misconduct. At approximately the same time, Dr. Green was also
placed on administrative leave pending investigation of allegations

that he had engaged in misconduct. Plaintiff subsequently received

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communications regarding investigatory meetings concerning varying,
vague, nonspecific allegations.

37. On April 3, 2017, Plaintiff shared her concern with
McNeill that this was continued harassment and bullying by WSPA and
LaMarca. McNeill responded to Plaintiff that she would add
Plaintiff's concern to the investigation being conducted by the
outside investigation firm, Solutions as Work. However, Plaintiff
was not asked about her allegations during the interviews with
Solutions at Work. Plaintiff herself brought the issue up during
an interview and received a glib and cursory response of “how is
that bullying?”

38. On May 5, 2017, Plaintiff sent a letter to Davis, McNeill
and District General Counsel Neil Rombardo regarding her’ concerns
of bullying and harassment that had not been addressed and her
unequal treatment by the District.

39. Mr. Rombardo subsequently informed counsel for Plaintiff
that Plaintiff was “mistaken” and did not ever indicate she had
concerns. As stated above, Plaintiff filed a formal complaint on
May 19, 2017.

40. Prior to the April 25th investigatory meeting with
Solutions at Work, commencing on April 7th, Plaintiff’s attorney
attempted to contact the office of McNeill with questions, as
Plaintift was directed to do in her March 30, 2017 Notice of
Administrative Leave; and, he also called the District Office of
General Counsel three times in preparation for the interviews.
Plaintiff alerted McNeill that her attorney’s phone calls were not
being returned in a phone conversation the two of them had on April

10th, but Plaintiff’s attorney’s calls were never returned.

 

 
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41. During the April 25th and May 2nd investigative meetings,
Plaintiff was not asked any specific questions, but was asked to
respond to vague questions and “scenarios.” During the meetings,
Plaintiff’s attorney asked for more specific information so that
Plaintiff could answer the questions. The investigators responded
by saying that they did not have the specific information with
them. Plaintiff was not provided access to email, calendar, or
daily journals to use as a reference to respond to the vague
questions. These questions included, but were not limited to:

- “Did you attend a meeting for psychologists?”

- “Do you remember if the meeting went well?”

- “Why did you go to the meeting?”

= “Does anyone feel supported by you?”

- “Do any Principals feel supported by you?”

Other questions that Plaintiff was asked during the
investigation had no rational relationship to supposed allegations
of bullying, harassment and/or misconduct on the part of Plaintiff.
Specifically, the following questions could not possibly have had
any bearing on whether or not Plaintiff engaged in any misconduct:

- “What kind of relationship does Byron [Green] have with

[Supt.] Traci Davis?”

= “Do you know if Byron has any other relationships in the

superintendent's office?”

- “How did you learn about your job?”

Plaintiff felt harassed and intimidated during these biased,
result-oriented investigative meetings conducted by Solutions at

Work.

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42. In the Spring of 2017, Dr. Green was also the subject of
an investigatory interview conducted by Solutions at Work. Unlike
Plaintiff, Dr. Green was provided with access to his email,
calendar and other materials to use as a reference in responding to
questions.

43. On May 11, 2017, Plaintiff’s attorney sent a letter to
the District legal office requesting a copy of Plaintiff’s records
of employment pursuant to NRS 613.075. In that letter, he reminded
the District that Plaintiff had been on leave for nearly six weeks
pending investigation, and he suggested a meeting or mediation
among Plaintiff and any complainants to bring resolution to the
matter so that all parties could get back to doing the work of the
District regarding special education.

| 44. The District’s putative “investigation” then dragged on
for another 23 weeks before Plaintiff was summarily dismissed on
October 23rd, bringing Plaintiff’s total administrative leave time
to more than 29 weeks.

45. At least five District Leadership Team members have been
accused of bullying/harassment over the last four years. None of
these individuals have been put on leave for such an extended
period pending investigation.

46. On June 26, 2017, Plaintiff was contacted by another
outside investigation firm retained by the District, Grate
Investigation, regarding her May 17th complaint against LaMarca.
An interview was scheduled for June 27, 2017. Plaintiff repeatedly
told the investigator that without access to her email, calendar,

or daily journals to use as a reference, it was extremely difficult

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to answer his questions, especially because his questions were so
vague; but, Plaintiff was not given access to those materials.

47. Plaintiff's attorney was assured in a_ telephone
conversation with and follow up email from Mr. Reich (attorney for
the District) that this investigation had nothing to do with the
investigation previously executed by Solutions at Work and the
allegations against Plaintiff, and that the investigation only
concerned Plaintiff’s complaint against LaMarca. Yet, investigator
Grate began the interview with Plaintiff by stating that his role
was to “clean up from the first investigation.” Mr. Grate
questioned Plaintiff for 2 hours with a focus on trying to
correlate his questions and her responses to information obtained
in the Solutions at Work investigation. Mr. Grate asked Plaintiff
questions consistent with an investigation of a complaint against
her, such as:

= “I want to know who you work well with.”

- “Do any principals like you”?

= “Were there concerns from Principals about you presented

in formal complaints”?

- “Did you see them”?
These questions had no relevance to the complaint by Plaintiff
against LaMarca. The interviews Plaintiff endured with Solutions at
Work and Grate Investigations were biased and retaliatory, and
constituted harassment and intimidation.

48. The pretext of McNeill’s October 23rd dismissal letter is
that Plaintiff was dismissed for dishonesty (denying discussions
with District staff during the investigation) and unprofessional

conduct.

 

 
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49. Dr. Green also engaged in discussions with District Staff
during the investigation, but the District did not aiicbeaneet to
dismiss Dr. Green.

50. In fact, the District’s dismissal of Plaintiff was
retaliation for her efforts to enforce the policies and practices
necessary to bring the District into compliance with state and
federal law regarding special education students. |

51. The District’s dismissal of Plaintiff was also
rebaligtien for Plaintiff's complaints of sex discrimination by
‘LaMarca.

52. The District failed to seriously investigate Plaintiff's
sex discrimination complaint against LaMarca and dismissed
Plaintiff prior to even completing that investigation.

53. The District’s dismissal of Plaintiff is allegedly
authorized by its official policy of employing “Leadership Team”
employees on an “at will” basis at the pleasure of the
Superintendent of Schools. The District alleges that such at-will
employees are not entitled to a hearing before a hearing officer
pursuant to NRS 391.765 to 391.800.

FIRST CLAIM FOR RELIEF
Violation of Due Process Guaranteed by the Fourteenth Amendment

54. Plaintiff repeats and realleges each of the allegations
as if fully set forth at length and incorporated herein by
reference.

55. Plaintiff was entitled to due process pursuant to NRS
391.765 to NRS 391.800 before dismissal.

56. These statutes gave Plaintiff a property interest in her

employment.

 

 
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57. On or about October 23, 2017, Defendant dismissed
Plaintiff.

58. Defendant did not provide Plaintiff with the due process
required pursuant to NRS 391.765 to NRS 391.800 inclusive before
dismissing her.

59. Defendant's decision to dismiss Plaintiff without
providing her a hearing pursuant to NRS 391.765 to NRS 381.800
inclusive violated Plaintiff’s due process rights as guaranteed by
the Fourteenth Amendment of the United States Constitution and 42
U.S.C. § 1983.

60. As a direct and proximate result of Defendant's
violations of Plaintiffs’s constitutional rights, Plaintiff
suffered severe and substantial damages. These damages include
lost salary, lost career and business opportunities, litigation
expenses including attorney fees, loss of reputation, humiliation,
embarrassment, inconvenience, mental and emotional anguish and
distress, consequential damages and other compensatory damages in
an amount to be determined at trial.

SECOND CLAIM FOR RELIEF
Sex Discrimination in Employment
Title VII, Civil Rights Act of 1964

61. Plaintifé incorporates by reference each of the foregoing
allegations as if fully set forth herein.

62. Defendant conducted itself with malice and/or reckless
indifference to Plaintiff’s statutory rights under Title VII of the
Civil Rights Act of 1964.

63. Plaintiff is female.

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64. LaMarca discriminated against Plaintiff due to her gender
by repeatedly making untruthful complaints against her, and
actively soliciting such complaints from others.

65. LaMarca discriminated against Plaintiff due to her gender
by treating her differently from her male colleague David Frydman.
By way of example, LaMarca did not make untruthful allegations
against Mr. Frydman and refused to work with Plaintiff on cases and
issues arising at the school level, while working directly with Mr.
Frydman on such cases and issues.

66. Defendant hired a company to investigate LaMarca’s
untruthful allegations against Plaintiff. The company, Solutions
at Work, conducted a biased, results-oriented investigation
intended to corroborate the predetermined decision to discipline
Plaintiff.

67. Defendant discriminated against Plaintiff in that she was
denied access to her email, calendar and daily journals during its
investigation, but Defendant afforded such access to Dr. Green
during its investigation.

68. On May 19, 2017, Plaintiff filed a formal complaint with
the Defendant about LaMarca’s discriminatory behavior.

69. Defendant hired a second investigator, Grate
Investigations, putatively to investigate Plaintiff’s complaint
against LaMarca. The District farminared Plaintiff prior to Grate
Investigation even completing its investigation of Plaintiff's
complaint. |

70. Plaintiff suffered severe emotional, psychological,
vocational and financial damages as a proximate cause of

Defendant’s conduct.

 

 
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71. Accordingly, Plaintiff is entitled to compensatory,
punitive and other appropriate damages and attorney fees and costs.
THIRD CLAIM FOR RELIEF
Sex Discrimination in Employment
Title VII, Civil Rights Act of 1964
Retaliation/Retaliatory Termination

72. Plaintiff incorporates by reference each of the foregoing
allegations as if fully set forth herein.

73. Plaintiff opposed any and all sex discrimination imposed
upon her by Defendant, throughout her employment with WCSD.

74. Defendant subsequently took adverse action ‘against
Plaintiff, primarily in the form of the termination of her
employment on the basis of engineered pretexts.

75. Plaintiff’s opposition to Defendant’s sex discrimination
was the motivating factor behind her pretextual termination.

76. Defendant conducted itself with malice and/or reckless
indifference to Plaintiff’s statutory rights under Title VII of the
Civil Rights Act of 1964.

77. All such wrongful conduct was committed by supervisors,
with the authority to hire, fire, and take adverse action against
Plaintiff, or transpired with the full knowledge and awareness of
Defendant.

78. Plaintiff suffered severe emotional, psychological,
vocational and financial damages as a proximate cause of
Defendant's conduct.

79. Accordingly, Plaintiff is entitled to compensatory,

punitive and other appropriate damages and attorney fees and costs.

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FOURTH CLAIM FOR RELIEF
Title IX

80. Plaintiff incorporates by reference each of the foregoing
allegations as if fully set forth herein.

81. The District is a recipient of federal education funding,
and subject to the provisions of Title IX of the Education
Amendments of 1972, 20 U.S.C. §1681, et seq.

82. Plaintiff challenged the sex discrimination of LaMarca by
complaining about it to supervisors and the District’s lawyer.

83. Defendant retaliated against Plaintiff due to Plaintiff's
challenge to this sex discrimination by investigating her and
ultimately firing her.

84. Plaintiff suffered severe emotional, psychological,
vocational and financial damages as a proximate cause of
Defendant’s conduct.

85. Accordingly, Plaintiff is entitled to compensatory,
punitive and other appropriate damages and attorney fees and costs.
FIFTH CLAIM FOR RELIEF
Violation of Title II and Title V of the Americans with
Disabilities Act - Retaliation

86. Plaintiff incorporates by reference each of the foregoing
allegations as if fully set forth herein.

87. Defendant is a public entity subject to Title II and
Title V of the ADA.

88. Defendant violated the ADA by intentionally frustrating
Plaintiff’s attempts at ensuring that schools within the District
complied with federal laws designed to help students ,with
disabilities, and ultimately terminating Plaintiff's employment due

to her efforts.

 
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89. Defendant’s actions constitute discrimination in
violation of Title II of the ADA, 42 U.S.C. §12132, and its
implementing regulations, 28 C.F.R. Part 35.

90. Defendant’s actions constitute retaliation in violation
of Title V of the ADA, and its implementing regulations.

91. All conditions precedent to the filing of this claim have
occurred or have been performed.

92. Accordingly, Plaintiff is entitled to compensatory,
punitive and other appropriate damages and attorney fees and costs.
SIXTH CLAIM FOR RELIEF
Violation of Section 504 of the Rehabilitation Act - Retaliation

93. Plaintiff incorporates by reference each of the foregoing
allegations as if fully set forth herein.

94. Defendant, which is a recipient of federal financial
assistance, discriminates against “qualified individuals with a
disability” within the meaning of the Rehabilitation. Act by
administering programs and services for individuals with
disabilities in a manner that denies the individuals’ the
opportunity to receive services in the most integrated setting
appropriate to their needs.

95. Plaintiff attempted to ensure that Defendant complied
with the federal laws designed to help students with disabilities,
and was terminated as a result.

96. All conditions precedent to the filing of this claim have
occurred or have been performed.

97. Accordingly, Plaintiff is entitled to compensatory,

punitive and other appropriate damages and attorney fees and costs.

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. SEVENTH CLAIM FOR RELIEF
Violation of Nevada Statutory Protections

98. Plaintiff incorporates by reference each of the foregoing
allegations as if fully set forth herein.

99. WCSD is an “employer” within the meaning of NRS 613.310.

100. NRS 613.330 makes it unlawful for an employer to
discriminate against any employee because of sex. Defendant's
conduct as detailed herein, was in fact illegal. Plaintiff was
subjected to sex related and motivated discriminatory practices,
comments, and actions affecting her compensation, terms, conditions
or privileges of employment, all of which are illegal activities
and which were directed, ratified or tolerated by Defendant.

101. As a direct and proximate result of Defendant's violation
of NRS 613.330, Plaintiff suffered lost wages, lost benefits, lost
seniority, lost future earnings, lost employment opportunities,
humiliation, embarrassment, and loss of self-esteem in an amount to
be determined at trial. Plaintiff seeks all legal and equitable
remedies available at law.

PRAYER FOR JUDGMENT AND RELIEF

WHEREFORE Plaintiff prays for judgment as follows:

1. For appropriate declaratory relief regarding the
unconstitutional and unlawful acts of Defendant;

2 « Actual damages in the form of back pay and front pay;

3. For appropriate compensatory damages in an amount to be
determined at trial;

4. For punitive damages in an amount to be determined at
trial;

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5. For appropriate equitable relief against Defendant as
allowed by law, including the enjoining and permanent restraining
of these violations, and direction to Defendant to take such
affirmative action necessary to ensure that the effects of the
unconstitutional and unlawful employment practices are eliminated

and do not continue to affect Plaintiff's or others’ employment

opportunities;
6. For an award of reasonable attorney fees and costs; and
7. For such other and further relief to which Plaintiff may

show herself justly, entitled.
Dated thisAd ¢ day of October, 2018.

DYER LAWRENCE, LLP

4» Lee CL

Francis C. Flaherty
Nevada Bar No. 5303
Casey C. Gillham
Nevada Bar No. 11971

 

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